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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JAMES G. WHITTAKER and                                  )
GLENDA L. WHITTAKER,                                    )
                                                        )       FILED: MAY 15, 2009
                        Plaintiffs,                     )       09CV2958
                                                        )       JUDGE ASPEN
                vs.                                     )
                                                        )       MAGISTRATE JUDGE SCHENKIER
TAKHAR COLLECTION SERVICES LTD.,                        )       CH
                                                        )
                        Defendant.                      )
                                            COMPLAINT

                                         INTRODUCTION

                1.      Plaintiffs James G. Whittaker and Glenda L. Whittaker bring this action to

secure redress from unlawful credit and collection practices engaged in by defendant Takhar

Collection Services Ltd. Plaintiffs allege violation of the Fair Debt Collection Practices Act, 15

U.S.C. §1692 et seq. (“FDCPA”) and the Illinois Collection Agency Act, 225 ILCS 425/1 et seq.

(“ICAA”).

                2.      The FDCPA broadly prohibits unfair or unconscionable collection methods;

conduct which harasses, oppresses or abuses any debtor; and any false, deceptive or misleading

statements, in connection with the collection of a debt; it also requires debt collectors to give debtors

certain information. 15 U.S.C. §§1692d, 1692e, 1692f and 1692g.

                3.      The ICAA reflects a determination that “The practice as a collection agency

by any entity in the State of Illinois is hereby declared to affect the public health, safety and welfare

and to be subject to regulation and control in the public interest. It is further declared to be a matter

of public interest and concern that the collection agency profession merit and receive the confidence

of the public and that only qualified entities be permitted to practice as a collection agency in the

State of Illinois. This Act shall be liberally construed to carry out these objects and purposes. . . .

It is further declared to be the public policy of this State to protect consumers against debt collection

abuse.” 225 ILCS 425/1a.
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                                  VENUE AND JURISDICTION

                4.      This Court has jurisdiction under 15 U.S.C. §1692k (FDCPA) and 28 U.S.C.

§§1331, 1337 and 1367.

                5.      Venue and personal jurisdiction in this District are proper because:

                        a.      Defendant’s collection communications were received by plaintiffs

within this District;

                        b.      Defendant does or transacts business within this District.
                                             PARTIES

                6.      Plaintiffs James G. Whittaker and Glenda L. Whittaker are husband and wife

and reside in the Northern District of Illinois.

                7.        Defendant Takhar Collection Services Ltd. is a corporation chartered

under Ontario law that does business in Illinois. Its registered agent and office are CT Corporation

System, 208 S. LaSalle St., Suite 814, Chicago, IL 60604.

                8.      Defendant Takhar Collection Services Ltd. is engaged in the business

of a collection agency.

                9.      Takhar Collection Services Ltd. is engaged in the business of using the

mails and telephone to collect consumer debts originally owed to others.

                10.     Takhar Collection Services Ltd. is a debt collector as defined in the

FDCPA.

                11.     Takhar Collection Services Ltd. is a licensee under the ICAA.
                                               FACTS

                12.     On or about Nov. 12, 2008, plaintiffs, through counsel, filed a petition under

Chapter 13 of the Bankruptcy Code.

                13.     Takhar Collection Services Ltd. is seeking to collect from plaintiffs a

debt incurred for personal, family or household purposes.

                14.     Beginning in early April 2009, plaintiffs received multiple telephone calls


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from Takhar Collection Services Ltd. The calls stated that they were for Glenda Whittaker about

an “important financial matter.” Plaintiff James G. Whittaker received some at his place of work.

                 15.    Plaintiff James G. Whittaker received several of the calls and informed the

caller that he and his wife had filed bankruptcy, that they should not be receiving collection calls

on the debts that were included in the bankruptcy, that the calls were disrupting his work, and that

they should stop calling.

                 16.    Defendant continued the phone calls regardless.
                                      COUNT I – FDCPA

                 17.    Plaintiffs incorporate paragraphs 1-16.

                 18.   Defendant violated 15 U.S.C. §1692c.

                 19.    Section 1692c provides:
                       § 1692c.        Communication in connection with debt collection
                                       [Section 805 of P.L.]

                       (a) Communication with the consumer generally--Without the prior
                 consent of the consumer given directly to the debt collector or the express
                 permission of a court of competent jurisdiction, a debt collector may not
                 communicate with a consumer in connection with the collection of any debt–

                       (1)    at any unusual time or place or a time or place known or which
                       should be known to be inconvenient to the consumer. In the absence of
                       knowledge of circumstances to the contrary, a debt collector shall
                       assume that the convenient time for communicating with a consumer is
                       after 8 o'clock antimeridian and before 9 o'clock postmeridian, local
                       time at the consumer's location;

                       (2)    if the debt collector knows the consumer is represented by an
                       attorney with respect to such debt and has knowledge of, or can readily
                       ascertain, such attorney's name and address, unless the attorney fails to
                       respond within a reasonable period of time to a communication from the
                       debt collector or unless the attorney consents to direct communication
                       with the consumer; or

                       (3)   at the consumer's place of employment if the debt collector knows
                       or has reason to know that the consumer's employer prohibits the
                       consumer from receiving such communication. . . .

                 WHEREFORE, the Court should enter judgment in favor of plaintiffs and against

defendant for:

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                              (1)     Statutory damages;

                              (2)     Actual damages;

                              (3)      Attorney’s fees, litigation expenses and costs of suit;

                              (4)      Such other and further relief as the Court deems proper.
                  COUNT II – ILLINOIS COLLECTION AGENCY ACT

               20.     Plaintiffs incorporate paragraphs 1-16.

               21.     Defendant is a “collection agency” as defined in the ICAA.

               22.     Defendant violated the following provisions of 225 ILCS 425/9.2:
               225 ILCS 425/9.2. (Effective January 1, 2008) Communication in connection
               with debt collection

                Sec. 9.2. (a) Without the prior consent of the debtor given directly to the debt
               collector or collection agency or the express permission of a court of competent
               jurisdiction, a debt collector or collection agency may not communicate with a
               debtor in connection with the collection of any debt in any of the following
               circumstances:

                       (1) At any unusual time, place, or manner that is known or should be
                       known to be inconvenient to the debtor. In the absence of knowledge of
                       circumstances to the contrary, a debt collector or collection agency shall
                       assume that the convenient time for communicating with a debtor is
                       after 8 o'clock a.m. and before 9 o'clock p.m. local time at the debtor's
                       location.

                       (2) If the debt collector or collection agency knows the debtor is
                       represented by an attorney with respect to such debt and has knowledge
                       of or can readily ascertain, the attorney's name and address, unless the
                       attorney fails to respond within a reasonable period of time to a
                       communication from the debt collector or collection agency or unless the
                       attorney consents to direct communication with the debtor.

                       (3) At the debtor's place of employment, if the debt collector or
                       collection agency knows or has reason to know that the debtor's
                       employer prohibits the debtor from receiving such communication. . . .


               23.     A private right of action exists for violation of the ICAA. Sherman v.
Field Clinic, 74 Ill. App. 3d 21, 392 N.E.2d 154 (1st Dist. 1979).

               24.     Plaintiff was damaged as a result.

               WHEREFORE, plaintiffs request that the Court grant the following relief in favor


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of plaintiffs and against defendant:

                              (1)      Compensatory and punitive damages;

                              (2)      Costs.

                              (3)      Such other and further relief as is appropriate.



                                                s/ Daniel A. Edelman
                                                Daniel A. Edelman

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                                   NOTICE OF LIEN AND ASSIGNMENT

              Please be advised that we claim a lien upon any recovery herein for 1/3 or such
amount as a court awards. All rights relating to attorney’s fees have been assigned to counsel.



                                               s/ Daniel A. Edelman
                                               Daniel A. Edelman


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